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 Fill in this information to identify the case:
 Debtor name Scungio Borst & Associates, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                      Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Federal Resources                                               Term Loan                                                                                            $3,865,817.13
 Financial Credit
 Union
 520 Route 22 East
 Bridgewater, NJ
 08807
 Jersey                                                          Trade debt                                                                                           $1,029,014.28
 Construction, Inc.
 838 Piney Hollow
 Road
 P.O. Box 557
 Hammonton, NJ
 08037
 MARX Sheet Metal &                                              Trade debt                                                                                             $503,247.00
 Mechanical Inc.
 373 High Street
 Wilkes Barre, PA
 18702
 Louis N. Rothberg &                                             Trade debt                                                                                             $346,760.45
 Son, Inc.
 550 Cedar Avenue
 Middlesex, NJ 08846
 Federal Resources                                               Line of Credit                                                                                         $278,511.59
 Financial Credit
 Union
 520 Route 22 East
 Bridgewater, NJ
 08807
 IT Landes Company                                               Trade debt                                                                                             $265,753.05
 247 Main Street
 Harleysville, PA
 19438
 2M Electric LLC                                                 Trade debt                                                                                             $255,810.70
 109 Camars Drive
 Warwick, PA 18974




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 Debtor    Scungio Borst & Associates, LLC                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Philadelphia                                                    Trade debt                                                                                             $245,304.29
 Carpentry Systems
 5 N. Columbus
 Blvd., Pier 5
 Philadelphia, PA
 19103
 William Walter                                                  Trade debt                                                                                             $215,738.83
 Construction Group
 LLC
 1431 N. Tuckahoe
 Road
 Williamstown, NJ
 08094
 Riley Glazing Inc                                               Trade debt                                                                                             $188,333.00
 200 E. Washington
 Street
 Norristown, PA
 19401
 RDL Construction                                                Trade debt                                                                                             $175,460.90
 LLC
 1044 Industrial
 Drive, Unit 1
 West Berlin, NJ
 08091
 1st Black Hawk LLC                                              Trade debt                                                                                             $172,845.45
 715 East Nields
 Street
 West Chester, PA
 19382
 Fromkin Brothers                                                Trade debt                                                                                             $153,902.15
 Inc.
 4510 Adam Circle,
 Unit E
 Bensalem, PA 19020
 Cippco Inc.                                                     Trade debt (Curtis Contingent                                                                          $151,981.07
 9323 Keystone                                                   Lawsuit)           Unliquidated
 Street                                                                             Disputed
 Philadelphia, PA
 19114
 Edward B. O'Reilly                                              Trade debt                                                                                             $149,729.15
 & Associates, Inc.
 30 West Highland
 Avenue
 Philadelphia, PA
 19118
 Mayfield Site                                                   Trade debt/ Note                                                                                       $148,285.00
 Contractors                                                     Payable
 596 Swedeland
 Road
 King of Prussia, PA
 19406



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 Debtor    Scungio Borst & Associates, LLC                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Portugese                                                       Trade debt                                                                                             $147,818.70
 Structural Steel, Inc.
 255 South Street
 Newark, NJ 07114
 Bristol Millwork Inc.                                           Trade debt (Curtis Contingent                                                                          $146,655.40
 4560 Tacony Street                                              Lawsuit)
 Philadelphia, PA
 19124
 VIP Construction                                                Trade debt                                                                                             $144,535.10
 Services, Inc.
 15 Fresh Ponds
 Road
 Monroe Twp., NJ
 08831
 Avon Brothers, Inc.                                             Trade debt                                                                                             $141,157.80
 5021 Industrial Road
 Farmingdale, NJ
 07727




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